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                                                                                                   Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     Sierra Club, et al.                                          19-cv-3263-TSH
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
              v.
                                                     )   PRO HAC VICE
 6   Scott Angelle, et al.                           )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I, Christopher Eaton                     , an active member in good standing of the bar of
 9    the State of Washington      , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Sierra Club, et al.                          in the
                                                                Brettny Hardy
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      705 Second Ave., Suite 203                          50 California St., Suite 500
14    Seattle, WA 98104                                   San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (206) 343-7340                                      (415) 217-2000
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    ceaton@earthjustice.org                             bhardy@earthjustice.org
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 47268        .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 06/25/19                                               Christopher Eaton
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Christopher Eaton                          is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
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 IN THE SUPREME COURT OF THE STATE OF WASHINGTON

                                                            )
      IN THE MATTER OF THE ADMISSION                        )                      BARNO. 47268
                                                            )
                           OF                               )                      CERTIFICATE
                                                            )
        CHRISTOPHER DOUGLASS EATON                          )                          OF
                                                            )
TO PRACTICE IN THE COURTS OF THIS STATE                     )                 GOOD STANDING
                                                            )




        I, Susan L. Carlson, Clerk of the Supreme Court of the State of Washington, hereby certify


                             CHRISTOPHER DOUGLASS EATON


was regularly admitted to practice as an Attorney and Counselor at Law in the Supreme Court and

all the Courts of the State of Washington on April 3, 2014, and is now and has continuously since

that date been an attorney in good standing, and has a current status of active.



                                                 IN TESTIMONY WHEREOF, I have
                                                 hereunto set my hand and affixed
                                                 the seal of said Court this 11th day of
                                                 June, 2019.




                                                c5twc-cl.~
                                                 Susan L. Carlson
                                                 Supreme Court Clerk
                                                 Washington State Supreme Court
